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               EXHIBIT 1
1/14/2021Case       1:20-cv-01233-CFC-JLH DocumentDivision
                                                    23-1of Corporations
                                                           Filed 01/20/21
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 Delaware.gov                                                                                             Governor | General Assembly | Courts | Elected Officials | State Agencies




  Department of State: Division of Corporations
                                                                                                                                                                    Allowable Characters

  HOME
                                                                                                                      Entity Details


                                                                                               THIS IS NOT A STATEMENT OF GOOD STANDING

                                                                                                              Incorporation Date /     7/25/2017
                                                           File Number:                 6491846
                                                                                                                  Formation Date:      (mm/dd/yyyy)

                                                           Entity Name:                 WSOU INVESTMENTS, LLC

                                                                                        Limited
                                                           Entity Kind:                 Liability                      Entity Type:    General
                                                                                        Company

                                                           Residency:                   Domestic                              State:   DELAWARE


                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        CAPITOL SERVICES, INC.

                                                           Address:                     1675 S STATE ST STE B

                                                           City:                        DOVER                                County:   Kent

                                                           State:                       DE                           Postal Code:      19901

                                                           Phone:                       800-316-6660


                                                           Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                           more detailed information including current franchise tax assessment, current filing history
                                                           and more for a fee of $20.00.
                                                           Would you like     Status      Status,Tax & History Information

                                                            Submit


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